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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
  LYNDSAY DRAVES,                                     CASE NO.: 1:21-cv-22021-KMW

            Plaintiff,

  v.

  TURBO POWER LLC, A/K/A
  TURBOPOWER, LLC,

         Defendants.
  _____________________________________/

                 PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE (ECF NO. 18)

         Plaintiff, Lyndsay Draves (the “Plaintiff”), by and through counsel, responds to the

  Court’s Order to Show Cause (ECF No. 18) as follows:

            1.      Mediation was initially scheduled for January 27, 2022 as noted by the Court. See

  ECF No. 16.

            2.      However, due to a conflict in the mediator’s schedule, the Parties agreed to

  reschedule mediation to February 17, 2022. See Mediation Correspondence attached as Exhibit 1.

            3.      It appears that the mediator either inadvertently failed to file an amended notice

  of mediation or may have mistakenly believed one of the Parties would do so.

            4.      However, as of the date of this response, the Parties are confirmed for mediation

  on February 17, 2022 and they fully intend to comply with the Court’s requirements regarding

  notification of the outcome of mediation.

         WHEREFORE, the Plaintiff respectfully requests that the Court find cause established,

  discharge the Show Cause Order (ECF No. 18), and grant any other relief deemed just and

  proper.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on February 10,

  2022 on all counsel of record via transmission of Notices of Electronic Filing generated by

  CM/ECF.

                                            Respectfully submitted by,

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                                            s/ Michael Gulisano
                                            Michael Gulisano, Esquire
                                            Florida Bar No.: 87573




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